                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

IN RE:                                                       Case No. 15-52946

CHARMAINE LENORE DAVEY,                                      Chapter 7

                Debtor.                                      Judge Thomas J. Tucker
                                        /

      OPINION AND ORDER DENYING MOTION TO COMPEL COMPLIANCE
        WITH 11 U.S.C. § 521(a)(2) AND TO DELAY ENTRY OF DISCHARGE

         This case is before the Court on 21st Mortgage Corporation’s Motion to Compel

Compliance with 11 U.S.C. § 521(a)(2) and to Delay Entry of Discharge, filed November 25,

2015 (Docket # 21, the “Motion”). The Motion relates to a manufactured home in which Debtor

granted a prepetition security interest to 21st Mortgage. In her Statement of Intention, Debtor

stated an intention to surrender the home, but 21st Mortgage claims she has not yet done so.

         Citing 11 U.S.C. § 521(a)(2), 21st Mortgage requests “entry of an order compelling the

Debtor to comply with her Statement of Intention,” or to amend her Statement of Intention, so

that 21st Mortgage can take possession of the home. Motion at 2. The Motion also states that

the Court “should delay issuance of a discharge in this case until Debtor has fully complied with

11 U.S.C. § 521(a)(2) by surrendering the Manufactured Home to 21st Mortgage.” Id. Debtor

did not respond to the Motion, and 21st Mortgage filed a Certification of Non-Response on

December 17, 2015 (Docket # 28).

         The Court concludes that the Motion must be denied, because the Bankruptcy Code does

not permit the relief sought by the Motion.

         Section 521(a)(2)(A) requires a debtor to provide a statement of intention regarding debts

secured by property of the estate. Section 521(a)(2)(B) requires the debtor to perform her stated




   15-52946-tjt      Doc 29    Filed 12/18/15     Entered 12/18/15 16:18:02        Page 1 of 3
intention within 30 days after the first date set for the meeting of creditors (unless the court

grants an extension). Neither of these subsections provides an enforcement mechanism for a

debtor’s failure to comply. Indeed, subsection B goes on to provide that “nothing in

subparagraphs (A) and (B) of this paragraph shall alter the debtor’s or the trustee’s rights with

regard to such property under this title, except as provided in section 362(h).” 11 U.S.C.

§ 521(a)(2)(B). Section 362(h), in turn, states that with certain exceptions, if a debtor fails to

comply with her stated intention in a “timely” manner, the property “shall no longer be property

of the estate.” 11 U.S.C. § 362(h)(1)(B). Once the property is no longer property of the

bankruptcy estate, the automatic stay terminates with respect to actions against that property. See

11 U.S.C. § 362(c)(1).

       The language preserving a debtor’s rights in property of the estate in § 521(a)(2)(B),

including her present right to possession, combined with the reference to § 362(h), indicates that

termination of the automatic stay is a secured creditor’s only remedy for a debtor’s failure to

comply with her Statement of Intention in a timely manner. See, e.g., Collier on Bankruptcy,

Chapter 521, ¶ 521.14.5 (2015) (“The sole exception to the saving clause is that failing to take

certain actions under the provision results in relief from the automatic stay in some cases under

section 362(h) slightly earlier than would ordinarily occur.”). 21st Mortgage does not cite any

provision of the Bankruptcy Code, or any other authority, suggesting otherwise.

       The Court therefore concludes that 21st Mortgage is not entitled to an order compelling

Debtor to comply with § 521(a)(2), or to a delay in the entry of Debtor’s discharge. 21st

Mortgage is limited to relief from the automatic stay. However, in this case, that relief is

unnecessary, because 21st Mortgage was already granted relief from the stay by Order entered


                                                  2



   15-52946-tjt     Doc 29     Filed 12/18/15      Entered 12/18/15 16:18:02         Page 2 of 3
October 16, 2015 (Docket # 17), well before the present Motion was filed. As a result, and

because § 521(a)(2) provides no alternative remedies, 21st Century must seek relief in state court,

rather than in this Court, if it wishes to obtain a court order for possession of the manufactured

home.

        Finally, the Court finds it unnecessary to enter an order finding that the manufactured

home is no longer property of the estate. Shortly after entry of this Opinion and Order, this

chapter 7 bankruptcy case will be closed. The pendency of the present Motion is the only thing

that has kept this case open since December 8, 2015. The Chapter 7 trustee filed his report of no

distribution on October 22, 2015, and Debtor received her Chapter 7 discharge on December 8,

2015; no adversary proceedings are pending and no other motions are pending. The case has

remained open only for resolution of the Motion. Under § 554(c) of the Bankruptcy Code,

because the manufactured home was a scheduled asset (see Schedules B and D at Docket # 1), it

will be deemed abandoned “at the time of the closing of a case.” 11 U.S.C. § 554(c). In all

relevant respects, the automatic stay will terminate when this case is closed.

        For all of these reasons,

        IT IS ORDERED that the Motion (Docket # 21) is denied.


Signed on December 18, 2015                   /s/ Thomas J. Tucker
                                              Thomas J. Tucker
                                              United States Bankruptcy Judge




                                                 3



   15-52946-tjt     Doc 29     Filed 12/18/15     Entered 12/18/15 16:18:02         Page 3 of 3
